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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA

                                                      §
    IN RE:                                            §       CASE NO: 22-11535
                                                      §
    ARMANDO AMAYA, III &                              §       CHAPTER 13
    JENNIFER ORREGO AMAYA,                            §
                                                      §       SECTION A
    DEBTORS.                                          §

                                                  ORDER

           Before the Court is the Notice To Withdraw Motion for Relief from Automatic Stay (the

   “Notice”), [ECF Doc. 68], filed by Select Portfolio Servicing, Inc. (the “Creditor”)—transferee of

   Claim No. 12 filed by Nationstar Mortgage LLC (the “Transferor”)—requesting that the Court

   withdraw the Motion for Relief from Automatic Stay as to the Property Located at 1833 Wedgwood

   Dr, Harvey, LA 70058 (the “Motion”), [ECF Doc. 45], filed by Transferor.

           IT IS ORDERED that the Motion is hereby WITHDRAWN.

           IT IS FURTHER ORDERED that the Creditor shall serve this Order via first-class U.S.

   Mail on the required parties who will not receive a copy through the Court’s CM/ECF system

   pursuant to the Federal Rules of Bankruptcy Procedure and this Court’s Local Rules and file a

   certificate of service to that effect within three (3) days.

           New Orleans, Louisiana, January 22, 2024.

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                                                              MEREDITH S. GRABILL
                                                      UNITED STATES BANKRUPTCY JUDGE
